









Dismissed and Memorandum Opinion filed January 6, 2005









Dismissed and Memorandum Opinion filed January 6,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01167-CR

____________

&nbsp;

ANN DEL
LANIER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
337th District Court

Harris County,
Texas

Trial Court Cause No. 1004430

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to felony theft.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on
October 21, 2004, to confinement for 230 days in the Harris County Jail.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 6, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Seymore.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





